      Case 1:22-cv-03034-TOR     ECF No. 80    filed 05/15/23   PageID.2922 Page 1 of 4



1
     LARA HRUSKA, WSBA No. 46531       HONORABLE THOMAS O. RICE
2
     SYDNEY ARIZONA BAY, WSBA No. 56908                 FILED IN THE
                                                    U.S. DISTRICT COURT
3    Cedar Law PLLC                           EASTERN DISTRICT OF WASHINGTON


4
     113 Cherry Street, PMB 96563
     SEATTLE, WA 98104-2205                    May 15, 2023
5    T: (206) 607-8277                             SEAN F. M AVOY, CLERK      C



6    F: (206) 237-9101
     E: lara@cedarlawpllc.com
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     E: sydney@cedarlawpllc.com
8    Attorney for Plaintiffs
9

10                   IN THE UNITED STATES DISTRICT COURT
11
                   FOR THE EASTERN DISTRICT OF WASHINGTON

12

13   YADIRA CONTRERAS, ERICA                    Case No.: 22-cv-03034 TOR
     KRONECK, KYLE OLSON, AND
14
     HENDRY (“CODY”) RODMAN III,
15                                              NOTICE OF APPEAL TO THE
                  Plaintiffs,                   UNITED STATES COURT OF
16
                                                APPEALS FOR THE NINTH
17   vs.                                        CIRCUIT
18   HERITAGE UNIVERSITY,
19
                  Defendant.
20

21

22
           The plaintiffs, Yadira Contreras, Erica Kroneck, Kyle Olson, and Hendry
23
     (“Cody”) Rodman appeal to the United States Court of Appeals for the Ninth Circuit
24

25   from the final judgment of the district court for the Eastern District of Washington,
26

27

28   NOTICE OF APPEAL - 1                                             Cedar Law PLLC
                                                                  113 Cherry St., PMB 96563
                                                                      Seattle, WA 98104
                                                                       (206) 607-8277
      Case 1:22-cv-03034-TOR     ECF No. 80   filed 05/15/23   PageID.2923 Page 2 of 4



1    entered in this case on April 18, 2023, Order Granting Defendant’s Motion for
2
     Summary Judgment (Dkt. 77).
3

4          The parties to the Order appealed from and the names and addresses of their
5
     respective attorneys are as follows:
6

7
           Appellants:         Yadira Contreras, Erica Kroneck, Kyle Olson, Hendry

8                              (“Cody” Rodman
9
           Names of counsel: Lara Hruska, WSBA# 46531
10
                             Sydney Bay, WSBA# 56908
11                           Cedar Law PLLC
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                             Seattle, WA 98104
13                           (206) 607-8277
14
                             lara@cedarlawpllc.com
                             sydney@cedarlawpllc.com
15

16         Appellee:           Heritage University
17
           Names of counsel: Paul Triesch, WSBA# 17445
18                           Keating Bucklin &McCormack, Inc., P.S.
                             801 2nd Avenue, Suite 1210
19
                             Seattle, WA 98104
20                           (206) 623-8861
21
                             ptriesch@kbmlawyers.com

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23
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25   //
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28   NOTICE OF APPEAL - 2                                            Cedar Law PLLC
                                                                 113 Cherry St., PMB 96563
                                                                     Seattle, WA 98104
                                                                      (206) 607-8277
      Case 1:22-cv-03034-TOR    ECF No. 80   filed 05/15/23   PageID.2924 Page 3 of 4



1    Dated this 15th of May, 2023
2

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4
                                              CEDAR LAW PLLC

5

6                                             s/Lara Hruska_________________
                                              Lara Hruska, WSBA No. 46531
7                                             Sydney Bay, WSBA No. 56908
8                                             Attorneys for Plaintiffs
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                                              Seattle, WA, 98104-2205
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28   NOTICE OF APPEAL - 3                                           Cedar Law PLLC
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                                                                     (206) 607-8277
      Case 1:22-cv-03034-TOR          ECF No. 80      filed 05/15/23    PageID.2925 Page 4 of 4



1                                     CERTIFICATE OF SERVICE
2
     I hereby certify that I served the foregoing Notice of Appeal on the following party:
3
            Paul J. Triesch
4           Keating Bucklin & McCormack, Inc., P.S.
            801 2nd Avenue, Suite 1210
5
            Seattle, WA 98104
6           ptriesch@kbmlawyers.com
            Attorney for Heritage University
7
     by electronic mail to said parties on the date shown below.
8

9    Dated this 15th day of May 2023.

10

11
                                                        ______________________________
12                                                      Amy Schley

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28   NOTICE OF APPEAL - 4                                                      Cedar Law PLLC
                                                                           113 Cherry St., PMB 96563
                                                                               Seattle, WA 98104
                                                                                (206) 607-8277
